
595 So.2d 86 (1992)
M.E.F., Appellant,
v.
STATE of Florida, Appellee.
No. 91-02042.
District Court of Appeal of Florida, Second District.
January 22, 1992.
*87 James Marion Moorman, Public Defender, and John S. Lynch, Asst. Public Defender, Bartow, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and Susan D. Dunlevy, Asst. Atty. Gen., Tampa, for appellee.
PER CURIAM.
The appellant challenges his convictions for burglary and obstructing police officers. We find merit in the appellant's argument that his constitutional rights were violated when the trial court adjudicated the appellant guilty without first permitting defense counsel to present a closing argument.
In a bench trial or a jury trial, it is an absolute violation of the Sixth Amendment for the court to deny the defendant the right to make closing argument. Herring v. New York, 422 U.S. 853, 95 S.Ct. 2550, 45 L.Ed.2d 593 (1975). It is true that when defense counsel complained, the trial court said that a closing argument could be presented in writing. In our opinion, this did not cure the error nor did defense counsel's possible acquiescence in that procedure constitute a waiver of the violation of the appellant's constitutional right.
Accordingly, we reverse and remand for a new adjudicatory hearing before a different trial judge.
Reversed and remanded.
SCHOONOVER, C.J., and DANAHY and LEHAN, JJ., concur.
